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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES – GENERAL

 Case No.       EDCV 20-00125-CJC (KKx)                                Date       September 18, 2020
 Title          Cameron Burbank v. United States Postal Service, et al



 Present: The Honorable         CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE
                    Cheryl Wynn                                            None Present
                    Deputy Clerk                                          Court Reporter
           Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                    None Present                                           None Present


 Proceedings:             (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR
                          LACK OF PROSECUTION

        It is a plaintiff's responsibility to prosecute its case diligently. That includes, where applicable,
promptly (a) filing stipulations extending a defendant’s time to respond to the complaint, (b) pursuing
default and remedies under Federal Rule of Civil Procedure 55 when a defendant fails to timely
respond to the complaint, or (c) dismissing a case the plaintiff has chosen not to pursue for any reason.

       Here, Plaintiff has filed a proof of service, yet the deadline for Defendant to respond to the
Complaint has passed and Plaintiff has taken no action. Accordingly, the Court, on its own motion,
hereby ORDERS Plaintiff to show cause in writing, no later than September 24, 2020 why this action
should not be dismissed for lack of prosecution. As an alternative to a written response by Plaintiff, the
Court will consider as an appropriate response to this OSC the filing of one of the following on or before
the above date:

    1. Plaintiff's Request for Entry of Default as to all Defendants or Defendants’ Answer

    2. A stipulation extending Defendants’ time to respond to the Complaint that complies with Local
       Rule 8.3, or

    3. A Notice of Voluntary Dismissal (Fed. R. Civ. P. 41) as to all Defendants.

       No oral argument will be heard on this matter unless ordered by the Court. The Order will
stand submitted upon the filing of a timely and appropriate response. Failure to file a timely and
appropriate response to this Order may result in dismissal.



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                                                      Initials of Deputy Clerk     cw




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